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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                          ANDERSON/GREENWOOD DIVISION

 Cephus B. Glenn,
                                                             C/A NO.: 8:17-cv-01487-TMC
                         Plaintiff,

 vs.
                                                           STIPULATION OF DISMISSAL
 AshTech Corporation,                                           WITH PREJUDICE

                       Defendant.


        WHEREFORE the parties, Plaintiff Cephus B. Glenn and Defendant AshTech

Corporation, have reached a negotiated resolution of this dispute, they hereby stipulate under Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure that this action is dismissed with prejudice.

        WE SO STIPULATE AND AGREE:


 s/Christopher P. Kenney________                   s/George V. Hanna, IV__________
 Richard A. Harpootlian (Fed ID No. 1730)          George V. Hanna, IV, Fed, ID # 7419
 Christopher P. Kenney (Fed ID No. 11314)          Jeffrey I. Silverberg, Fed, ID # 11529
 Phillip D. Barber (Fed ID No. 12816)              Howser, Newman & Besley, LLC
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 ATTORNEYS FOR PLAINTIFF
 CEPHUS B. GLENN

April 2, 2019
Columbia, South Carolina.
